            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES,                                   )
                                                 )
           Plaintiff,                            )   Case No.
                                                 )
           v.                                    )
                                                 )
NANCY ZAK,                                       )
CLAUD CLARK III,                                 )
ECOVEST CAPITAL, INC.,                           )
ALAN N. SOLON,                                   )
ROBERT M. MCCULLOUGH,                            )
RALPH R. TEAL JR.,                               )
                                                 )
                                                 )
           Defendants.                           )
                                                 )


                                     COMPLAINT
      Plaintiff, the United States of America, for its complaint against Defendants

Nancy Zak, Claud Clark III, EcoVest Capital, Inc., Alan N. Solon, Robert M.

McCullough, and Ralph R. Teal, Jr. (collectively, “Defendants”), alleges as

follows:

                             NATURE OF THE ACTION

      1.        Defendants organize, promote, or sell (or assist in the organization,

promotion and sale of) a highly structured – and abusive – tax scheme involving

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the syndication of conservation easement donations. Defendants’ “conservation

easement syndication scheme” – as described herein – encourages Defendants’

customers to “invest” in a conservation easement syndicate under the assumption

that the syndicate will donate a conservation easement, claim a tax deduction for

that conservation easement, and allocate a portion of that tax deduction to each

customer who “invests” based on their “investment” in the syndicate.

      2.     In reality, Defendants’ conservation easement syndication scheme

amounts to nothing more than a thinly veiled sale of grossly overvalued federal tax

deductions under the guise of investing in a partnership.

      3.     In organizing, promoting, and selling their scheme, Defendants make

(or cause others to make) statements about the allowance and amount of federal tax

deductions a customer is entitled to claim based on their “investment” in the

syndicate. But these statements are false, as explained in more detail below. As a

result of the false statements made by or caused by Defendants, the customers

claim improper and grossly overvalued federal tax deductions on their tax returns.

Defendants make these statements, and cause others to make these statements,

despite the fact that they knew or had reason to know that they were false.

      4.     Defendants also rely on grossly overvalued appraisals as part of their

scheme. Defendants furnish, and cause others to furnish, statements regarding

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value to customers, including the “fair market value” of the conservation

easements. Defendants’ customers then use those valuations to claim highly

inflated and overvalued federal tax deductions (in the form of noncash charitable

contribution deductions) on their individual tax returns.

      5.     Collectively, since 2009, Defendants have organized, promoted, or

sold (or assisted in the organization, promotion, and sale of) at least 96

conservation easement syndicates that have resulted in over $2 billion of federal

tax deductions (in the form of noncash charitable contribution deductions) reported

by the syndicates. Of those 96 conservation easement syndicates and over $2

billion of tax deductions, each Defendant has organized, promoted, or sold (or

assisted in the organization, promotion, and sale of) the following number of

syndicates and associated tax deductions:

        Defendant            Number of Syndicated            Federal Tax Deductions
                                Conservation                    Reported by those
                                 Easements                  Syndicates as “Partners’
                                                            Distributive Share Items”
 Nancy Zak                                          42                    $381,268,644
 Claud Clark III                                    58                  $1,855,235,588
 EcoVest Capital, Inc.                              51                  $1,708,222,000
 Alan N. Solon                                      55                  $1,607,841,485
 Robert M. McCullough                               42                  $1,504,962,000
 Ralph T. Teal, Jr.                                 45                  $1,594,323,000




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      6.    The United States brings this complaint pursuant to 26 U.S.C.

§§ 7402, 7407, and 7408 to enjoin Defendants, and any other person or persons in

active concert or participation with them, from, among other things:

            a.     organizing, promoting, or selling (or assisting in the
                   organization, promotion, or sale of) the “conservation easement
                   syndication scheme,” described herein, or any other plan or
                   arrangement that encourages taxpayers to claim a deduction for
                   a qualified conservation contribution under 26 U.S.C. § 170(h);

            b.     participating (directly or indirectly) in the sale of any
                   conservation easement syndicate, or any other plan or
                   arrangement that encourages taxpayers to claim a deduction for
                   a qualified conservation contribution;

            c.     making or furnishing (or causing another to make or furnish) a
                   statement about the allowance of any federal tax benefit as a
                   result of participating in a conservation easement syndicate or
                   any other plan or arrangement that encourages taxpayers to
                   claim a qualified conservation contribution deduction;

            d.     making or furnishing (or causing another to make or furnish) a
                   gross valuation overstatement as to any material matter related
                   to participating in a conservation easement syndicate or any
                   other plan or arrangement that encourages taxpayers to claim a
                   qualified conservation contribution deduction;

            e.     organizing, promoting, or selling (or assisting in the
                   organization, promotion, or sale of) any other plan or
                   arrangement that advises or assists taxpayers to attempt to
                   violate the internal revenue laws or unlawfully evade the
                   assessment or collection of their federal tax liabilities;

            f.     in connection with organizing, promoting, or selling a plan or
                   arrangement that advises or assists taxpayers to attempt to
                   violate the internal revenue laws or unlawfully evade the
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     assessment or collection of their federal tax liabilities, making
     or furnishing (or causing another to make or furnish) false
     statements about the allowance of any federal tax benefit
     resulting from participating in the plan or arrangement;

g.   in connection with organizing, promoting, or selling a plan or
     arrangement that advises or assists taxpayers to attempt to
     violate the internal revenue laws or unlawfully evade the
     assessment or collection of their federal tax liabilities, making
     or furnishing (or causing another to make or furnish) a gross
     valuation overstatement as to any material matter related to
     participating in the plan or arrangement;

h.   preparing (or assisting in the preparation) of any federal tax
     return, or any document that may be filed in support of a tax
     return or other submission to the IRS claiming benefits
     resulting from a qualified conservation contribution under 26
     U.S.C. § 170(h), including, but not limited to, Forms 8283
     (appraisal summaries) or qualified appraisals;

i.   preparing (or assisting in the preparation of) any federal tax
     return, or any document that may be filed in support of a tax
     return or other submission to the IRS that they know will result
     in the understatement of any tax liability or the overstatement
     of any federal tax refund;

j.   facilitating any donation that is intended to qualify as a
     “qualified conservation contribution” under 26 U.S.C. § 170(h);

k.   advising or representing any individual before the IRS with
     respect to any donation that is intended to qualify as a
     “qualified conservation contribution” under 26 U.S.C. § 170(h);

l.   preparing (or assisting in the preparation of) any appraisal that
     is intended to be a “qualified appraisal” within the meaning of
     26 U.S.C. § 170(f)(11)(E);



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             m.     engaging in any activity subject to penalty under 26 U.S.C.
                    §§ 6694, 6695A, 6700, or 6701; and

             n.     engaging in conduct that substantially interferes with the proper
                    administration and enforcement of the internal revenue laws;

      7.     Further, pursuant to 26 U.S.C. § 7402, the United States seeks an

order requiring, among other things, that all Defendants disgorge to the United

States the gross receipts that they received from any source as a result of the

conservation easement syndication scheme described herein, together with

prejudgment interest thereon.

                                AUTHORIZATION

      8.     This action has been requested by a delegate of the Secretary of the

Treasury and commenced at the direction of a delegate of the Attorney General of

the United States, pursuant to 26 U.S.C. §§ 7402, 7407, and 7408.

                          JURISDICTION AND VENUE

      9.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1340

and 1345 and 26 U.S.C. § 7402.

      10.    Venue is proper in this Court because the Defendants engaged in the

penalty conduct at issue in this judicial district and a substantial part of the events

giving rise to the claims herein occurred in this judicial district. 26 U.S.C.

§ 7408(a); 28 U.S.C. § 1391(b).


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                                  THE PARTIES

      11.    Plaintiff is the United States of America.

Defendant Zak

      12.    Nancy Zak (“Zak”) is a resident of the State of Georgia. Zak,

individually and as the principal of several entities, is a conservation manager,

consultant, and project manager who assists in the planning and execution of

conservation easement donations and conservation easement syndicates. Zak has

organized, promoted, and sold the conservation easement syndicates through

several entities over the years, including Forever Forests, LLC (“Forever Forests”),

Greenth, Inc., and Conservation Project Strategies, LLC.

      13.    On the website for her entity Forever Forests, Zak states that her

career has focused on “conservation easements and their associated tax benefits

since 1999.” Zak advertises that she formed Forever Forests and “the creation of

the basic structure now being followed in the industry in what are commonly called

‘conservation partnerships’” after managing the preservation of several parcels of

land through conservation easements for a Georgia real estate developer.

      14.    In her role as a conservation manager, consultant, and/or project

manager, Zak assisted in the organization and promotion of conservation easement

syndicates by providing a number of services including: providing guidance in

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planning of ownership structure, negotiating agreements with land trusts and

appraisers, assisting in the highest and best use determination, recommending legal

counsel for legal and tax review, and managing the preparation and distribution of

required IRS tax forms.

       15.     Between 2011 and 2014, Zak was a registered representative of two

different broker-dealers: Strategic Financial Alliance and Arque Capital. Zak has

also promoted and sold conservation easement syndicates outside of her work as a

registered representative.

       16.     Zak has reaped substantial financial gain from her participation in the

organization and sale of conservation easement syndicates as well as her

conservation consulting services. Zak also purchased interests in several

conservation easement syndicates and benefited from the improper and overvalued

conservation easement deductions she personally claimed on her federal income

tax returns.

       17.     Zak is subject to this Court’s jurisdiction because she resides in this

judicial district.

       18.     Since 2009, Zak has been involved with at least 42 conservation

easement syndicates as the conservation manager, project manager, and/or a seller

of conservation easement syndicate interests.

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Defendant Clark

         19.   Claud Clark, III (“Clark”) is a resident of Alabama. Clark is a real

property appraiser and is a certified appraiser in multiple states, including the State

of Georgia.

         20.   Clark owns and operates Claud Clark, III, P.C., formerly known as

Clark-Davis, P.C., a real estate appraisal firm based in Magnolia Springs,

Alabama. Clark advertises on the Claud Clark III, P.C. website that the firm

specializes in historical preservation and conservation easement appraisals

throughout the United States.

         21.   Clark advertises on the Claud Clark III, P.C. website that he has

completed more than 200 conservation easement appraisals. Clark also promotes

his services and experience through speaking engagements at conservation

easement seminars. Clark has made presentations about appraisal techniques used

in valuing conservation easements and appraisal issues that have arisen in specific

cases.

         22.   As an appraiser of conservation easements, Clark provides an opinion

of fair market value of the conservation easement, which is documented in an

appraisal report. Clark’s statements of the fair market value of the conservation

easement are used by the conservation easement syndicates in the promotion and

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sale of the syndicates. Specifically, Clark’s opinions of value are furnished to

prospective customers and used to show the anticipated return on investment a

customer can expect through tax savings

       23.    Since 2009, Clark’s opinions of value as documented in appraisal

reports have been used as the basis for the tax deductions reported by at least 58

conservation easement syndicates (and ultimately claimed as deductions by the

individual customers of those syndicates). Copies of Clark’s appraisal reports were

attached to these customers’ filed tax returns.

       24.    Clark has reaped substantial financial gain from his participation in

the organization, promotion, and sale of conservation easement syndicates.

       25.    Clark is subject to this Court’s jurisdiction because he has appraised

real property and conservation easements within the State of Georgia and within

this judicial district. Clark’s clients include limited liability companies with their

principal place of business and operational headquarters in Georgia. Clark has also

participated directly or indirectly in the sale of conservation easement partnership

interests to residents within this judicial district.




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Defendants Solon, EcoVest, McCullough and Teal

      26.   Alan Solon (“Solon”) is a resident of the State of Georgia and a part

owner of EcoVest. Solon currently serves as the President, Chief Executive Officer

and a manager of EcoVest. Solon is also on the Board of Directors of EcoVest.

      27.   Prior to working at EcoVest, Solon served as the Chief Marketing

Officer of SFA Holdings, Inc., a holding company formed to operate financial

service businesses through its subsidiaries which included: (1) The Strategic

Financial Alliance, Inc., a broker-dealer for which defendant Zak was at one time a

registered representative; (2) SFA Insurance Services, Inc., an insurance agency;

and (3) Conservation Resources, Inc.

      28.   Conservation Resources, Inc. was formed on December 2, 2010.

      29.   From the date of its formation until at least 2012, Conservation

Resources, Inc. provided conservation easement consulting services and assisted in

the organization, promotion, and sale of conservation easement syndicates.

      30.   Solon served as President of Conservation Resources, Inc. until

August 2012.

      31.   Conservation Resources, Inc. assisted primarily on the organization,

promotion, and sale of conservation easement syndicates offered through its related

company, Strategic Financial Alliance, Inc.

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       32.    In his role at Conservation Resources, Inc., Solon organized,

promoted, and sold (or assisted in the organization, promotion, and sale of)

conservation easement syndicates.

       33.    After the formation of EcoVest in 2012, Solon continued to organize,

promote, and sell conservation easement syndicates through EcoVest.

       34.    Solon has reaped substantial financial gain from his participation in

the organization and sale of conservation easement syndicates.

       35.    Since 2009, Solon has organized, promoted, or sold (or assisted in the

organization, promotion, and sale of) at least 55 conservation easement syndicates.

       36.    Solon is subject to this Court’s jurisdiction because he resides in this

judicial district.

       37.    In 2012 EcoVest Capital, Inc. (“EcoVest”) was formed as a Delaware

corporation. EcoVest has a principal place of business and operational

headquarters located at 3424 Peachtree Road NE, Suite 1550, Atlanta, Georgia.

EcoVest offers and sponsors real estate investments focused on conservation,

including conservation easement syndicates.

       38.    EcoVest functions and communicates through Alan Solon, Robert

McCullough, Ralph Teal, and other individuals. EcoVest has at least 17 employees

including Solon and McCullough.

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      39.    EcoVest, directly and indirectly through subsidiaries, organizes,

promotes, and sells conservation easement syndicates. Among other things,

EcoVest provides consulting services regarding proposed conservation easement

syndicates and assists in the securing of a land trust, appraiser, and the

documentation used by the syndicates and customers to claim the noncash

charitable contribution deductions on their tax returns.

      40.    EcoVest sponsors specific conservation easement syndicate offerings

that are sold through broker-dealers. EcoVest has worked with numerous broker-

dealers on its conservation easement syndicate offerings, including: Strategic

Financial Alliance, Arque Capital, and Triloma Financial Group.

      41.    Between 2012 and 2013, Defendant Zak was a part-owner and

employee of EcoVest.

      42.    Between 2012 and 2013, Defendant Zak, when working as a

registered representative of Strategic Financial Alliance and/or Arque Capital, sold

conservation easement syndicate offerings sponsored by EcoVest.

      43.    EcoVest has reaped substantial financial gain from its participation in

the organization and sale of conservation easement syndicates.




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       44.    Since 2012, EcoVest or its affiliates, organized, promoted, or sold (or

assisted in the organization, promotion, and sale of) at least 51 conservation

easement syndicates.

       45.    EcoVest is subject to this Court’s jurisdiction because it is a resident

of and conducts business in this judicial district.

       46.    Robert McCullough (“McCullough”) is a resident of the State of

Georgia. McCullough currently serves as the Senior Vice President and CFO of

EcoVest.

       47.    McCullough, directly and indirectly, including through EcoVest,

organizes, promotes, and sells conservation easement syndicates. McCullough has

reaped substantial financial gain from his participation in the organization and sale

of conservation easement syndicates.

       48.    Since 2009, McCullough has organized, promoted, or sold (or assisted

in the organization, promotion, and sale of) at least 42 conservation easement

syndicates.

       49.    McCullough is subject to this Court’s jurisdiction because he resides

in this judicial district.

       50.    Ralph Teal (“Teal”) is a resident of South Carolina and part owner of

EcoVest. Teal currently serves on EcoVest’s Board of Directors.

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      51.    Teal, directly and indirectly, including through EcoVest and other

companies that he owns, organizes, promotes and sells conservation easement

syndicates. Teal has reaped substantial financial gain from his participation in the

organization and sale of conservation easement syndicates.

      52.    Since 2009, Teal or his affiliated entities, organized, promoted, or sold

(or assisted in the organization, promotion, and sale of) at least 45 conservation

easement syndicates.

      53.    Teal is subject to this Court’s jurisdiction because Teal personally

and/or through agents, including EcoVest, transacts business in the State of

Georgia.

                       Conservation Easements Generally

      54.    A conservation easement is a legal agreement between a landowner

and another party, generally a land trust or government agency, that permanently

restricts the development and/or use of land with the purpose of achieving certain

conservation or preservation goals.

      55.    In the federal tax context, while a taxpayer may take a deduction for

any charitable contribution made during the taxable year (subject to certain

limitations), a deduction is generally not allowed for a taxpayer’s contribution of a

partial interest in property. The Internal Revenue Code provides for certain

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exceptions where a deduction for the donation of a partial interest in property is

permitted, one of which is for the donation of a “qualified conservation

contribution.”

      56.    A “qualified conservation contribution” is defined as a contribution

(A) of a qualified real property interest, (B) to a qualified organization, (C) made

exclusively for conservation purposes. Before a deduction can be claimed,

however, certain criteria must be met, as discussed further herein.

      Defendants’ Scheme Hinges Upon an Entity Taxed as a Partnership

      57.    Defendants’ conservation easement syndication scheme, as described

in this Complaint, hinges upon the use of an entity taxed as a partnership under

subchapter K of the Internal Revenue Code. Defendants use entities organized as

limited liability companies (“LLCs”) under state law. Each conservation easement

syndicate is a state law entity that is taxed as a partnership, a pass-through entity,

for federal tax purposes. Without the use of an entity taxed as a partnership,

Defendants would be unable to deliver the advertised tax deductions to their

prospective customers and, as described in more detail below, Defendants knew or

had reason to know that.

      58.    An entity taxed as a partnership is not liable for income tax; instead,

its partners are liable for income tax in their separate or individual capacities based

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on the income, losses, deductions, or credits that flow from the entity. Because of

the structure in which partnerships “pass through” income and losses to their

partners, they are commonly referred to as “pass through” or “flow through”

entities.

       59.   Each partner takes into account his or her distributive share of the

partnership’s income or loss and any “separately stated items” in computing his or

her income tax liability. “Separately stated items” are specific items of income,

gain, loss, deductions and/or credits that a partner must account for separately;

these items are not taken into account when computing the partnership’s income or

loss for a tax year. Charitable contributions (as defined in section 170(c)) constitute

a “separately stated item.”

       60.   Although partnerships do not pay federal income tax, partnerships still

have tax filing requirements. Specifically, partnerships are required to file an

annual return, Form 1065 (U.S. Return of Partnership Income) that reports the

partnership’s income, deductions, gain, losses, etc. The partnership is also required

to furnish statements, or Schedules K-1, to its partners (and the IRS) reporting each

partner’s distributive share of partnership income or loss, and separately stated

items, among other things.




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    The Steps in Defendants’ Conservation Easement Syndication Scheme

      61.    Defendants’ conservation easement syndication scheme is highly

structured and typically involves multiple entities. At the very least, the scheme

involves one LLC (or other state law entity) taxed as a partnership in which

customers “invest.” Defendants market (or assist in marketing) the LLC interests to

potential “customers.” Defendants’ scheme has evolved over the years and been

executed in different iterations and permutations, but the general pattern of the

conservation easement syndication scheme is as follows:

             a. Step One: A “sponsor” creates a conservation easement syndicate
                (LLC) or identifies an existing LLC that can be turned into a
                conservation easement syndicate. The LLC is taxed as a
                partnership. If the LLC does not own the real property at issue, the
                real property is contributed by its owners in exchange for the LLC
                interests in a transaction that is considered a “nonrecognition”
                transaction for federal income tax purposes. This means that the
                parties to the transaction do not have to recognize the gain or loss
                on the transaction for federal tax purposes.

             b. Step Two: The LLC acts through a manager. The manager is
                generally the sponsor or an employee, agent, or subsidiary of the
                sponsor. The LLC engages the services of a conservation manager
                who assists in the planning, organization, and execution of a
                conservation easement. As part of these services, the conservation
                manager contacts a land trust and works in conjunction with the
                land trust to draft the deed of conservation easement and the
                baseline documentation. Baseline documentation that describes
                and depicts the property at the time of the donation is required.
                Generally, the initial services provided by the conservation
                manager include hiring an appraiser and assisting with the

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   determination of the highest and best use of the property to be used
   in the appraisal.

c. Step Three: The appraiser, prepares an “initial valuation” of the
   proposed conservation easement. Here, in creating their initial
   valuation, the appraisers utilize unrealistic assumptions, violate the
   standards governing appraisal practice and otherwise prepare
   valuations that grossly overvalue the conservation easement. This
   initial valuation is used to market and sell the LLC interests. The
   appraisers know that their valuation will be used in this manner.

d. Step Four: The LLC or conservation manager engages a law firm
   to provide a tax opinion letter, confidential offering summary or
   private placement memorandum, and other transactional
   documents (subscription agreements for purchasing LLC units,
   operating agreement(s) of the LLC, redemption agreements, etc.)
   to be used in marketing and selling the LLC interests. The
   marketing materials include the initial valuation and typically state
   that the land trust has preliminarily accepted the draft deed of
   conservation easement.

e. Step Five: The LLC interests are marketed and sold as securities
   that are exempt from registration under Regulation D of the
   Securities Act. The LLC interests are generally sold in an “all or
   nothing” or “minimum/maximum” offering, meaning that a
   specific number of units must be subscribed or the closing will not
   take place. The LLC interests are sold either privately (through
   accountants, return preparers, financial advisors, and/or
   Defendants) or through broker-dealers. The LLC interests are
   generally marketed to taxpayers who, without the deductions
   stemming from the LLC interests, would be in one of the highest
   federal income tax brackets.

f. Step Six: Prospective customers are given an offering package
   with the marketing materials and transactional documents,
   including the confidential offering summary or private placement
   memorandum, tax opinion, operating agreement(s), subscription
   agreement, and redemption agreement. The offering package

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   includes the anticipated value of the conservation easement, the
   anticipated value of the corresponding tax deduction (as
   determined by the preliminary appraisal,) and states that a draft
   deed of conservation easement has been approved by a land trust.
   Copies of the preliminary appraisal and draft deed are not
   provided, but are available for review by prospective customers.
   The offering package includes an example of the tax benefit or a
   “tax savings analysis” of a customer’s investment. The “tax
   savings analysis” explains the return on investment by quantifying
   the amount of tax benefits to be received for every dollar
   “invested” like in the following example:




g. Step Seven: Each customer who wants to purchase LLC interests
   must fill out certain transactional documents, including a
   subscription agreement, indicating the number of units to be
   purchased. The customer must also certify that the customer is an
   “Accredited Investor” as defined by securities law. Broker-dealers
   or the syndicate’s sponsor may require prospective customers to
   complete additional forms.

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h. Step Eight: After all LLC interests are subscribed and accepted by
   the LLC, the closing transaction is executed. Customers wire
   money to the LLC through a bank designated by the LLC or the
   sponsor and proceeds are distributed as described in the offering
   documents. The LLC uses the proceeds to pay fees and expenses,
   redeem the membership interests of the original LLC members,
   and to set up an operating account and an audit reserve fund.

i. Step Nine: Shortly after closing, the LLC’s manager makes a
   recommendation to the members regarding the use of the property
   – to place a conservation easement over the property. The LLC
   then executes a conservation easement over the property.

j. Step Ten: An appraiser, generally the same person who provided
   the initial valuation, finalizes the value of the conservation
   easement by preparing a “final appraisal” that purports to be a
   qualified appraisal (as defined in 26 U.S.C. § 170 and the
   regulations thereunder). The appraiser generally uses the same
   flawed assumptions and methodology as used in the initial
   valuation to arrive at approximately the same grossly overstated
   value. On occasion, the LLC hires a second appraiser (the review
   appraiser) to provide a “review” of the appraiser’s initial or final
   valuation and support the value provided by the original appraiser.

k. Step Ten: A return preparer prepares the LLC’s tax return, Form
   1065 and accompanying schedules reporting the conservation
   easement as a charitable contribution. As part of this process, the
   return preparer also prepares the Schedules K-1 for each
   customer/LLC member on which the customer’s share of the
   conservation easement deduction is reported. As part of the Form
   1065, the LLC files a Form 8283 (appraisal summary), which must
   be signed by the appraiser and the land trust (or other organization
   to which the conservation easement was donated). The appraiser
   also prepares a supplemental statement to accompany the Form
   8283 and submits a copy of the final appraisal to the LLC with the
   knowledge that it will be used to support a charitable contribution
   deduction reported on the Form 1065 and ultimately claimed by
   the individual customers.
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             l. Step Eleven: Customers file their income tax returns, Forms 1040,
                reporting overvalued charitable contribution deductions arising
                from the conservation easements. The customers receive copies of
                their Schedules K-1, Forms 8283 (appraisal summaries),
                supplemental statements, and appraisal reports from the LLC and
                submit them with their income tax returns as support for the
                improper and overstated deductions claimed. The improper and
                overstated deductions ultimately reduce the customers’ reported
                tax liabilities.

      62.    Defendants’ conservation easement syndication scheme has evolved

over time and is now structured to include tiered-entities (the “tiered-entity

structure”). In the “tiered-entity structure,” the steps generally remain the same

except that at the onset two LLCs are formed, one which will own the land and one

which will own 90 percent or more of the LLC owning the land. The customers

“invest” in the LLC that owns the land-holding LLC.

  The Evolution of Defendants’ Relationships in the Conservation Easement
                           Syndication Scheme

      63.    As least as early as 2009, Defendant Zak began organizing,

promoting, and selling conservation easement syndicates.

      64.    Between 2009 and 2011, Zak worked on a series of at least 13

conservation easement syndicates that owned land outside of Savannah, Georgia.

The land was all originally owned by one entity and was subdivided into smaller

tracts for each of these conservation easement syndicates. Zak, through her entity,


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Forever Forests, provided conservation services to these syndicates and assisted in

the organization, promotion, and sale of the syndicates to customers.

      65.    Starting no later than 2010, Defendant Zak began working with

Defendants Clark and Solon in organizing, promoting, and selling (or assisting in

the organization, promotion, and sale of) conservation easement syndicates.

Between 2010 and 2012, Solon operated through his role at Conservation

Resources, Inc.

      66.    Beginning in 2012, when it was formed, EcoVest began providing

consulting services for conservation easement syndicates. Starting in or around

2013, EcoVest became the “sponsor” of specific conservation easement syndicates

(directly or through the formation of subsidiaries) that were sold as securities

exempt from registration through broker-dealers. Solon has worked at EcoVest

since it was formed, assisting in the organization, promotion, and sale of the

conservation easement syndicates sponsored by EcoVest. Defendant Teal started

his association with EcoVest and his role in organizing, promoting, and selling (or

assisting in the organization, promotion, and sale of) conservation easement

syndicates no later than 2013. Starting no later than January 2014, when Defendant

McCullough joined EcoVest, he began organizing, promoting, and selling (or




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assisting in the organization, promotion, and sale of) conservation easement

syndicates.

      67.     As described above, Defendant Zak was a part-owner of EcoVest

between 2012 and 2013. After Defendant Zak disposed of her ownership interest in

EcoVest, she continued to organize, promote, and sell conservation easement

syndicates that were separate than the ones organized, promoted and sold by

EcoVest.

      68.     Each Defendant continues to organize, promote, and sell (or assist in

the organization, promotion, and sale of) conservation easement syndicates to date.

           Examples of Defendants’ Conservation Easement Syndicates

Example 1: Partnership Z in 2009

      69.     On October 17, 2008, Sponsors A, B, and C organized Partnership Z

as a Georgia LLC with a principal place of business in Garden City, Georgia.

      70.     Partnership Z owned real property in Georgia consisting of

approximately 140 acres of vacant land.

      71.     On or about December 29, 2009, Sponsors A, B, and C initiated a

private offering of 99 ownership units of Partnership Z at a price of $8,620 per

unit plus an operating reserve capital contribution of $1,010 per unit. Ultimately,




                                          24
Partnership Z sold all 99 units for a total offering of $853,380 plus a total

operating reserve capital contribution of $99,990.

      72.    Defendant Zak, through her entity Forever Forests, assisted in the

organization, promotion, and sale of ownership units in Partnership Z. Defendant

Zak also purchased ownership units in Partnership Z and was allocated a portion

of the federal tax deduction reported by Partnership Z from the conservation

easement donation.

      73.    In assisting in the organization, promotion, and sale of Partnership

Z, Zak furnished, or caused others to furnish, the summary offering memorandum

to prospective customers. The summary offering memorandum indicated that the

granting of a conservation easement could result in substantial tax benefits to those

who purchased units. The summary offering memorandum also included a copy of

a tax opinion letter which stated it was “more likely than not” that Partnership Z

would be treated as a partnership for federal tax purposes and that people

purchasing units of Partnership Z would thus be entitled to their share of its

income, loss, deductions and credits.

      74.    On December 31, 2009, Partnership Z executed a conservation

easement on approximately 135 acres of the 140-acre parcel of real property.




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      75.    Sponsors A, B, and C, with the assistance of Zak, hired an appraiser to

value the conservation easement. The appraiser completed an appraisal report

dated January 11, 2010 that valued the conservation easement at $4,592,000 as of

December 1, 2009.

      76.    The appraiser’s valuation of Partnership Z’s conservation easement

was based on his determination of “market value” using a pre-determined highest

and best use of a residential development. The appraiser ignored relevant

comparable sales, used the incorrect standard for valuation, and otherwise used

flawed assumptions and unsuitable data in reaching his opinion of value. As a

result of these flaws, the appraiser’s valuation of the conservation easement

exceeds by 200 percent or more, the correct value of the conservation easement.

      77.    On its Form 1065 for the short tax year ending December 31, 2009,

Partnership Z reported no income or loss and the noncash charitable contribution

deduction arising from the conservation easement in the amount of $4,592,000.

This amount created a tax deduction for each customer of over $4.76 for every

dollar invested (including both the price per unit and the operating reserve capital

contribution required per unit). If, for example, a customer purchased 10 units for

$9,630 per unit (price per unit plus the operating reserve capital contribution

required per unit), for a total of $96,300, Partnership Z would subsequently

                                          26
allocate a charitable contribution deduction of over $459,000 to that customer.

Partnership Z allocated the $4,592,000 to its 16 partners on Schedules K-1 as

follows:

               Partner No.       Ownership           Noncash
                                  Interest          Contribution
              1                          3.0%             $137,760
              2                          2.0%              $91,840
              3                          7.0%             $321,440
              4                          5.0%             $229,600
              5                          2.0%              $91,840
              6                          4.0%             $183,680
              7                          2.5%             $114,800
              8                         12.5%             $574,000
              9                          8.0%             $367,360
              10                         3.0%             $137,760
              11                         8.0%             $367,360
              12                         5.0%             $229,600
              13                        10.0%             $459,200
              14                         5.0%             $229,600
              15                        22.0%           $1,010,240
              16                         1.0%              $45,920
                       Total          100.0%            $4,592,000

Example 2: Partnership Y in 2012

      78.   In 2012, EcoVest provided consulting services to Partnership Y, a

conservation easement syndicate organized as a Georgia LLC with a principal

place of business in Rome, Georgia.

      79.   Partnership Y owned real property in Georgia consisting of

approximately 324.90 acres of wooded unimproved land.

                                         27
      80.    On or about December 12, 2012, Partnership Y initiated a private

offering of 900 to 950 ownership units at $1,799 per unit. Ultimately, Partnership

Y sold 950 units for a total offering of $1,709,050. EcoVest assisted in the

organization, promotion, and sale of these 950 units of Partnership Y.

      81.    In connection with the organization, promotion, and sale of

Partnership Y units, EcoVest assisted in obtaining a tax opinion letter that it

subsequently furnished to prospective customers. The tax opinion letter stated that

it was “more likely than not” that Partnership Y would be treated as a partnership

for federal tax purposes, and that the customers who purchased ownership interests

of Partnership Y would be entitled to a portion of the charitable contribution

deduction arising from the conservation easement relative to their ownership

interest in Partnership Y. The tax opinion letter was included as an exhibit to

Partnership Y’s confidential private offering summary. The tax opinion letter was

based on facts and documents provided by or on behalf of Partnership Y that

were not correct.

      82.    Partnership Y’s confidential private offering summary stated that

Partnership Y had engaged in no business activities, that Partnership Y would

need additional capital if it chose to develop the property, that the offering price for

a partnership unit was not an indication of the value of the unit, that Partnership

                                          28
Y did not expect to make any cash distributions to the customers, that the term of

Partnership Y was to be five years, and that the manager of Partnership Y had

the authority to sell or dispose of the real property (Partnership Y’s only asset)

within four years of a conservation easement being granted.

      83.    Partnership Y’s offering summary and exhibits contained pages

analyzing the risks associated with the investing in Partnership Y, the majority of

which pertain to the tax risks and potential of an IRS audit for the anticipated

conservation easement donation.

      84.    Partnership Y’s confidential private offering summary also

contained a “Source and Use of Funds” section as follows, which detailed how the

$1,709,050 total offering would be used by Partnership Y:




                                          29
       85.     Of the $254,520 of working capital, $150,000 was set aside as an

audit reserve for a period of five years. If, after five years, Partnership Y did not

receive notice from the IRS indicating that one or more of its or its affiliates’ tax

returns were being audited, the audit reserve would be released to Partnership Y

for its use.

       86.     In connection with the organization, promotion, and sale of its units,

Partnership Y hired Clark to provide a preliminary appraisal. Clark opined that as

of December 5, 2012, Partnership Y’s real property had a fair market value of

$6,619,788. Clark’s opinion of value was included in the Partnership Y

confidential private offering summary. Based on Clark’s opinion, Partnership Y

told prospective customers this valuation would result in a conservation easement

deduction in the amount of $6,295,000 that would be allocated to the customers

based on their unit ownership. Clark furnished his opinion of value to Partnership

Y and EcoVest who in turn furnished this statement of value to customers.

       87.     In connection with the organization, promotion, and sale of

Partnership Y units, Defendants Zak and EcoVest furnished the confidential

private offering summary to prospective customers, which included Clark’s

opinion of value and statements to customers that “the grant of the Conservation

Easement would generate a charitable contribution easement deduction [], which

                                           30
would inure to the Members based upon their relative ownership percentage in the

Company.”

      88.    EcoVest utilized broker-dealer Strategic Financial Alliance to assist in

the promotion and sale of interests in Partnership Y to customers.

      89.    After the closing of the private offering, on or about December 31,

2012, Partnership Y placed a conservation easement on approximately 322.90

acres of the 324.90 acre property.

      90.    Defendant Clark completed a subsequent appraisal for Partnership

Y; his appraisal, dated February 10, 2013, valued the easement at $6,295,000 as of

December 27, 2012.

      91.    Clark’s appraisal of the Partnership Y conservation easement

reached a pre-determined highest and best use of a rural residential development.

Clark’s opinion of value also relies on at least one inappropriate methodology by

using a discounted cash flow analysis while ignoring relevant comparable sales,

including the sale of easements or property subject to easements.

      92.    As a result of Clark’s inappropriate methodology, flawed assumptions

and unsuitable data, Clark’s valuation of the conservation easement exceeds by

200 percent, or more, the correct value of the conservation easement.




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      93.   On its Form 1065 for tax year 2012, Partnership Y reported a

charitable contribution deduction arising from the conservation easement in the

amount of $6,295,000, creating a tax deduction for each customer of over $3.50 for

each dollar invested. If, for example, a customer purchased 10 units for $1,799

each, for a total of $17,990, Partnership Y would subsequently allocate a

charitable contribution deduction of over $62,965 to that customer.

      94.   Defendant Clark knew or had reason to know that his preliminary

valuation would be used by EcoVest in the marketing and sale of Partnership Y.

Defendant Clark also knew or had reason to know that his final valuation and

appraisal report would be used by Partnership Y and the individual customers to

support the tax deductions claimed as a result of the conservation easement.

      Example 3: Partnership X and Partnership W in 2015

      95.   In 2015, EcoVest sponsored Partnership X, a conservation easement

syndicate organized as a Delaware LLC on May 18, 2015, with a principal place of

business in Atlanta, Georgia. Partnership X operated through its principals,

including Defendant McCullough, who served as the senior vice president and

chief financial officer of Partnership X.

      96.   Partnership X was formed with the purpose of purchasing

approximately 94.5% of Partnership W.

                                        32
       97.   Partnership W was organized as a Delaware LLC on May 19, 2015,

with a principal place of business in Atlanta, Georgia for the purpose of owning a

28.04 acre parcel of vacant and unimproved real property in South Carolina.

       98.   In December 2011, Nonprofit A acquired, by gift, the 28.04 acre

parcel of real property in South Carolina that Partnership W was organized to

own.

       99.   On or about June 8, 2015, Partnership X and Nonprofit A entered

into a Purchase Agreement that set forth a series of transactions related to the

purchase of the 28.04 acre piece of real property from Nonprofit A:

             a.    Nonprofit A would contribute the 28.04 acre parcel of real
                   property to Partnership W in exchange for 95% of the
                   ownership units of Partnership W in a transaction intended to
                   qualify as a nonrecognition transaction under I.R.C. § 721;

             b.    Nonprofit A would contribute $52,000 (approximately 4.76%
                   of the value of the real property assigned to the property in the
                   Purchase Agreement as of June 8, 2015, $1,092,000) to a newly
                   formed entity, LLC B. LLC B would then contribute the cash
                   to Partnership W in exchange for 5% of the ownership units of
                   Partnership W in a transaction intended to qualify as a
                   nonrecognition transaction under I.R.C. § 721;

             c.    On or before December 31, 2015, Nonprofit A would convey
                   95% of the ownership units of Partnership W to Partnership
                   X for a purchase price of $1,040,000 (the remaining 95.24% of
                   the value of the real property).




                                          33
      100. Without the contributions to Partnership W as described in the

Purchase Agreement qualifying as nonrecognition transactions under the Internal

Revenue Code, Partnership W would not have been permitted to treat the real

property as long-term capital gain property. If the real property was not treated as

long-term capital gain property, the amount of the charitable contribution

deduction for the conservation easement permitted under the Code would have

been limited to Partnership W’s basis in the real property.

      101. On or about July 10, 2015, Clark provided a preliminary appraisal of

Partnership W’s real property. Clark opined that as of July 10, 2015, the

conservation easement contemplated by Partnership W was valued at

$38,879,000. Clark’s appraisal report indicates that he intended to revise the

appraisal after the execution and filing of the conservation easement. At the time

Clark gave his preliminary appraisal report and opinion of value, Clark knew or

had reason to know that his statement of value was to be used in the promotion and

sale of interests in Partnership X. Clark furnished his statement of value and

appraisal report to Partnership X and EcoVest which in turn furnished the

statement of value to prospective customers.

      102. On or about August 3, 2015, EcoVest, directly or indirectly, initiated a

private offering of Partnership X units at a price of $9,483 per unit.

                                         34
      103. In connection with the organization, promotion, and sale of

Partnership X units, EcoVest caused offering documents including a confidential

private placement memorandum to be prepared and distributed to prospective

customers. EcoVest included Clark’s statement of value, of $38,879,000 of the

conservation easement in its offering materials, telling customers that by investing

in Partnership X, they would be entitled to a portion of that conservation

easement deduction.

      104. In connection with the organization, promotion, and sale of

Partnership X, EcoVest furnished the confidential private placement

memorandum to prospective customers or caused others to furnish the confidential

private placement memorandum to prospective customers. Partnership X’s

confidential private placement memorandum stated that Partnership X would

need additional capital if it chose to develop the property, that the offering price for

a partnership unit was not an indication of the value of that unit, that the term of

Partnership X was not expected to last beyond six years, and that the manager of

Partnership X had the authority to sell or dispose of the real property

(Partnership X’s only asset) after four years of a conservation easement being

recorded. Yet, Partnership X’s offering documents asserted that the customers

would be entitled to a portion of the charitable contribution deduction arising from

                                          35
the conservation easement because Partnership X would be treated as a

partnership for federal tax purposes. Specifically, EcoVest made and caused others

to make the specific statement that “the donation of the conservation easement

would generate a charitable contribution deduction in the approximate amount of

$38,879,000, which would inure to the Members based upon their relative

beneficial ownership percentage in the [Partnership X].”

      105. EcoVest utilized broker-dealers Strategic Financial Alliance and

Triloma Securities to assist in the promotion and sale of interests in Partnership X

to customers.

      106. After the closing of the private offering, on or about December 15,

2015, Partnership W executed a deed of conservation easement to be effective on

December 22, 2015, with respect to its approximately 28.04 acre parcel in South

Carolina. Partnership W retained the right to build one residential building and

one recreational building within an approximately four-acre building site.

      107. Defendant Clark completed a subsequent appraisal for Partnerships X

and W; his appraisal, dated December 15, 2015, valued the easement at

$39,697,000 as of December 15, 2015. Clark’s final appraisal differed minimally

from his original appraisal dated July 10, 2015.




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      108. Clark’s appraisal of the Partnership W conservation easement

reached a pre-determined highest and best use of a multi-family resort-like

development, relied upon inappropriate methodology and assumptions and

excluded pertinent facts, including:

             a. Clark inappropriately used a discounted cash flow analysis while

                ignoring relevant comparable sales, including the sale of easements

                or property subject to easements.

             b. Clark’s appraisal omitted mention of the Purchase Agreement

                between Nonprofit A and Partnership X and the stated value in

                that agreement of the property of $1,092,000 as of June 8, 2015.

      109. As a result of Clark’s inappropriate methodology, flawed assumptions

and unsuitable data, Clark’s valuation of the conservation easement exceeds by

200 percent, or more, the correct value of the conservation easement.

      110. On its Form 1065 for tax year 2015, Partnership W reported a

charitable contribution deduction arising from the conservation easement in the

amount of $39,697,000 which was allocated to its partners, including Partnership

X. Partnership X in turn allocated the deduction to its members based on their

unit ownership, creating a tax deduction for each customer of approximately $4.12

for each dollar invested. If, for example, a customer purchased 10 units for $9,483,

                                         37
for a total of $94,830, Partnership X would subsequently allocate a charitable

contribution deduction of over $390,699 to that customer.

      111. Defendant Clark knew or had reason to know that his preliminary

valuation would be used by EcoVest in the marketing and sale of Partnership X.

Defendant Clark also knew or had reason to know that his final valuation and

appraisal report would be used by Partnerships W and X and the individual

customers to support the tax deductions claimed as a result of the conservation

easement.

  In Organizing, Promoting, and Selling (or Assisting in the Organization,
Promotion and Sale of) Conservation Easement Syndicates, Defendants Made
   Statements that Defendants Knew or Had Reason to Know Were False
      112. Defendants’ collective 96 conservation easement syndications involve

real property, primarily vacant and unimproved parcels, in the states of Alabama,

Georgia, Indiana, Kentucky, North Carolina, South Carolina, Tennessee, and

Texas. At least 21 of those syndicates involved real property in the State of

Georgia.

      113. Defendants have directly or indirectly sold interests in these 96

conservation easement syndicates to thousands of customers (although some

customers purchased interests in multiple conservation easement syndicates) from

at least 45 different states and the District of Columbia. These 96 conservation


                                         38
easement syndicates reported in excess of $2 billion in charitable contribution

deductions arising from the conservation easements on their federal tax returns

(Forms 1065), which were intended to be passed through to the individual

customers who would use these deductions to reduce their federal tax liabilities.

      114. In organizing, promoting, and selling (or assisting in the organization,

promotion, and sale of) the 96 conservation easement syndicates, Defendants Zak,

EcoVest, Solon, McCullough, and Teal made statements (or caused others to make

statements) regarding the availability of qualified conservation contribution

deductions a customer could claim as a result of participating in the conservation

easement syndication scheme. Similar to the statements outlined above in

promoting the specific examples, these Defendants marketed the conservation

easement syndicates as a way for a customer to participate in tax benefits by

becoming a “partner” in or “part-owner” of an LLC that would donate a

conservation easement.

      115. In organizing, promoting, and selling (or assisting in the organization,

promotion, and sale of) the 96 conservation easement syndicates, all Defendants

made or furnished statements about the amount of a qualified conservation

contribution deduction that would be available to customers if they invested in a




                                         39
conservation easement syndicate. These statements were based on the appraisals

and/or opinions of value prepared by Clark or another real estate appraiser.

      116. Defendants Zak, EcoVest, Solon, McCullough, and Teal marketed the

conservation easement syndication scheme through word of mouth as well as

through broker/dealers, financial advisors, return preparers, CPAs, and other

individuals. Defendant Clark knew that his opinions of value were being used to

market the conservation easement syndicates. Further, Defendant Clark knew or

had reason to know how the syndicates were structured and being marketed and

sold and that his statements of value and the statements of value he caused others

to make were false.

      Specific Statements by Zak

      117. Defendant Zak uses websites and social media sites to promote the

abusive conservation easement syndication scheme, including the website of her

wholly owned entity, Forever Forests. Zak publishes “success stories” on the

Forever Forests’ website, all of which describe the availability of federal income

tax deductions as a primary purpose for purchasing an interest in a conservation

easement syndicate.




                                         40
      118. One “success story” example Zak publicizes on her website, “The

Conservation Facilitator,” describes a specific transaction between Ms. A and Mr.

B (the names on the website have been shortened to initials in this Complaint):

      The sale of Ms. A[ ]’s company in January generated an ordinary
      income windfall profit. She contacted Forever Forests who introduced
      her to another of their clients, Mr. B[ ]. With the help of Forever
      Forests, Mr. B[ ] had earlier evaluated the possibility of permanently
      preserving his timber tract and a qualified appraiser had estimated the
      amount of federal income tax deductions that could be claimed if the
      property were to be conserved. Unfortunately, Mr. B[ ] was unable to
      utilize all of the deductions. Ms. A[ ] offered to purchase a significant
      share of his ownership interests in the property while agreeing that
      Mr. B[ ] could retain managerial control. After closing, the partners
      agreed to preserve the property through the grant of a conservation
      easement. Ms. A[ ] offset 50% of her windfall profit using her share
      of the tax benefits whose cash value was more than 30% in excess of
      her purchase price. After a few years, Mr. B[ ] repurchased Ms. A[ ]’s
      shares and the partnership dissolved.

See, http://foreverforests.net/index.php/success-stories/ last accessed on
December 13, 2018.

      119. Defendant Zak, in promoting her services and her company, Forever

Forests, prepared promotional materials that were distributed by her and others in

organizing, promoting, and selling the conservation easement syndicates. In one of

these promotional documents, Zak stated that “[a]n owner who wishes to conserve

their property but cannot utilize all of the deductions may choose to put the

property’s ownership into a partnership prior to the placement of a conservation

easement on the property. The generated deductions are then shared
                                          41
proportionately between the partners. … Partners also receive sufficient tax

benefits to offset their investment and realize a meaningful return.”

      120. In that same promotional document, Defendant Zak advises

prospective customers that they can redirect some of their “tax dollars into a pre-

structured Conservation Partnership” allowing them to “cut [their] taxes by 30% to

50% (or more).” Zak also assures her customers that “[the Partnership] project

structure allows for the tax savings to be shared among the owners in place at the

time the easement is granted.” Defendant Zak shared these promotional materials

with prospective customers and with others who furnished the promotional

materials to prospective customers.

      121. Defendant Zak also promoted and sold specific conservation easement

syndicates as a registered representative of broker-dealers, including the Strategic

Financial Alliance. In selling the syndicates as a registered representative, Zak and

her agents or employees told prospective customers about the tax benefits they

could receive by purchasing an interest in the syndicate. Zak frequently promoted

new conservation easement syndicates to individuals who had previously

purchased interests in an earlier conservation easement syndicate. Zak and her

agents or employees promoted and sold several conservation easement syndicates

that were “all being offered at a pricing ratio of 1:4.25, so that for each dollar

                                           42
invested the partner receives $4.25” in tax deductions. At least one of these

conservation easement syndicates offering this ratio was sponsored by EcoVest.

      122. Defendant Zak continues to engage in the organizing, promoting, and

selling (or assisting in the organization, promotion or sale of) the conservation

easement syndicates. For example, Zak has been marketing a conservation

easement syndicate involving real property in the state of Florida since at least

December 2016. In promoting the conservation easement syndicate offering to

prospective customers, Zak made the following statements:




    (Emphasis in original.)

      Specific Statements by EcoVest, Solon, McCullough and Teal

      123. Defendant EcoVest, as a sponsor of conservation easement syndicates,

prepared marketing materials and offering documents outlining the structure of the

transaction and tax deductions a customer could expect for purchasing an interest

in a specific syndicate. Defendant EcoVest furnished these documents and the




                                          43
statements contained therein to prospective customers or to broker-dealers who

disseminated them to prospective customers.

      124. Defendant EcoVest continues to sponsor conservation easement

syndicates, directly or indirectly, by organizing, promoting, and selling (or

assisting in the organization, promotion, or sale of) interests in more than one

conservation easement syndicate in each of 2016, 2017, and 2018.

      125. Defendants Solon, McCullough, and Teal, in their capacity as owners,

directors, officers, and/or employees of EcoVest organized, promoted, and sold (or

assisted in the organization, promotion, and sale of) EcoVest-sponsored

conservation easement syndicates. Defendants Solon, McCullough, and Teal,

directly or indirectly, prepared (or assisted in the preparation of) the marketing

materials and offering packages for EcoVest-sponsored conservation easement

syndicates. Defendants Solon, McCullough, and Teal furnished (or caused others

to furnish) these marketing materials and offering packages to prospective

customers and made statements regarding the allowance and amount of tax

deductions that a customer could receive for purchasing an interest in an EcoVest-

sponsored conservation easement syndicate.

      126. In the marketing materials and offering documents for the EcoVest-

sponsored conservation easement syndicates, Defendants EcoVest, Solon,

                                          44
McCullough, and Teal made statements and caused others to make statements that

were false or fraudulent, including:

             a. That the syndicates would qualify as partnerships for federal tax
                purposes, and;

             b. That the customers would be entitled to their pro rata portion of the
                charitable contribution deduction arising from the conservation
                easement in proportion to their ownership interests in the
                syndicates.

      127. EcoVest also used marketing materials prepared by a law firm in

organizing, promoting and selling its conservation easement syndicates including

one document copyrighted in 2013 entitled, “Conservation Easement Overview.”

      128. The Conservation Easement Overview, which EcoVest furnished to

its customers, included background information on conservation easements and a

summary of the tax benefits one could expect to receive from participating in a

conservation easement syndicate because “[t]he use of partnership structures can

allow, under the right circumstances, the maximum use of tax benefits attributable

to a conservation easement deduction.”

      129. In the “Conservation Easement Overview,” the analysis continued,

explaining that:

             Many landowners are not able to take advantage of a
             deduction for a conservation easement on their property
             because they lack sufficient income. However, there are
             high-income taxpayers willing to invest in land owning

                                         45
             entities if they can receive the benefit of a conservation
             easement deduction. This matching of interests allows
             preservation of the land on terms satisfactory to all and
             increases the amount of land preserved by fully utilizing
             the tax incentives of section 170(h).

             …

             …Below is an example of how this works:

             Assume that Mr. Jones [] owns the property with his son,
             Casey, in a partnership, and assume that Mr. Jones and
             Casey each have an annual adjusted gross income of
             only $50,000. If Mr. Jones and Casey were to donate a
             conservation easement over their property, they would
             likely be unable to fully utilize the $9 million deduction
             attributable to an easement donation because of the
             deduction limitations discussed above (Mr. Jones and
             Casey would each be limited to deducting $25,000 of the
             $9 million deduction in the year of donation, and roughly
             the same amount for each carryover year afterward).
             However, if Mr. Jones and Casey admitted other high-
             income investors into their partnership by selling them
             LLC interests, and the partnership subsequently elected
             to donate an easement over the property, the investors
             would be able to share in the deduction. Thus, the
             partnership structure, and the admission of additional
             partners, can enable the tax benefits attributable to a
             conservation easement donation to be fully utilized.

Defendants knew or had reason to know that their statements about securing
    tax benefits, namely charitable contribution deductions, were false.

      130. As described herein, Defendants’ conservation easement syndication

scheme relies upon the use of an entity taxed as a partnership to pass tax



                                         46
deductions through to the customers who purchase ownership units of a

conservation easement syndicate.

      131. In organizing, promoting, selling, and/or opining on the conservation

easement syndication scheme, Defendants Zak, EcoVest, Solon, McCullough, and

Teal made statements regarding the allowance of the federal tax deductions that

they knew, or had reason to know, were false or fraudulent as to material matters.

These statements include those described herein about the syndicate qualifying as a

partnership for federal tax purposes, that the donations qualify as “qualified

conservation contributions,” and that the customers are entitled to a portion of the

charitable contribution deduction by virtue of their ownership units in the

syndicate.

      132. Among other things, Defendants Zak, EcoVest, Solon, McCullough,

and Teal knew or had reason to know that the customers were not entitled to the

charitable contribution deductions claimed because:

             a. The conservation easement syndicates exist solely as a conduit for
                selling tax deductions;

             b. The conservation easement syndicates are shams;

             c. The conservation easement syndicates lack economic substance;

             d. The conservation easement syndicates are not organized for the
                purpose of carrying on of a business or joint venture;


                                          47
             e. The conservation easement syndicates do not contribute a qualified
                real property interest as required to be a valid “qualified
                conservation contribution”; and

             f. The conservation easement donations are not made exclusively for
                conservation purposes.

      133. Defendants also made or furnished gross valuation overstatements

about the value of the conservation easement syndicate units, the value of the

conservation easements and associated value of the tax benefits to be received

from that easement by each customer. Defendants knew or had reason to know that

their statements were based on improper and overvalued appraisals. Defendants

knew or had reason to know that the appraisals relied upon inappropriate

assumptions, data, and methodology and otherwise failed to comply with the

Internal Revenue Code and regulations thereunder. As a result, Defendants knew

or had reason to know that the valuation statements they made were false as well as

gross valuation overstatements.

Defendants Knew or Had Reason to Know That the Conservation Easement
Syndicates Lack Economic Substance and Are Shams

      134. In the tax context, the term “partnership” includes a syndicate, group,

pool, joint venture, or other unincorporated organization through or by means of

which any business, financial operation, or venture is carried on, and which is not,

a corporation or a trust or estate. However, if the partnership is organized with no


                                         48
business purpose other than tax avoidance, the partnership lacks economic

substance and/or is a sham.

      135. Defendants Zak, EcoVest, Solon, McCullough, and Teal knew, or had

reason to know that: (1) the syndicates they organized, promoted, sold, and/or

opined on had no business purpose other than tax avoidance; (2) the customers did

not join together for the purpose of carrying on a business and sharing in the profits

or losses or both of that business; and, (3) the syndicates lack economic substance

and are shams.

      136. For example, Defendants Zak, EcoVest, Solon, McCullough, and Teal

knew or had reason to know that:

             a. the syndicates did not have ongoing business ventures, the
                syndicates did not expect to generate any profits, and the
                customers did not anticipate any distributions from the syndicates;

             b. the partners’ only return on investment came in the form of tax
                benefits;

             c. the partners were not required to make any additional capital
                contributions to the syndicates and the syndicate was not funded
                (and had no financing plans or capability) for anything other than
                donating a conservation easement on the real property;

             d. the only asset the syndicate had was the real property upon which
                the conservation easement was placed;

             e. the manager of the syndicate had the ability to dispose of that only
                asset (without the approval of the partners) after a period of years
                after the conservation easement is granted;

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              f. the investment risks outlined by the syndicate focused primarily on
                 the tax consequences that could result from the IRS auditing the
                 conservation easement donation; and

              g. the syndicate had a specific term or otherwise included termination
                 provisions or provisions for the customers to exit the syndicate
                 after a period of years and were marketed as a limited term
                 investment.

      137. Defendants knew or had reason to know that the sale of federal tax

deductions is prohibited and created a structure in an attempt to avoid this

prohibition. Defendants’ conservation easement syndication scheme is nothing

more than a thinly veiled attempt to facilitate the sale of federal tax deductions by a

person who cannot fully utilize them to people who can. Defendants knew or had

reason to know that the use of a partnership or other pass-through entity was the

only way to otherwise attempt to avoid the prohibition on selling federal tax

deductions.

      138. As such, Defendants knew or had reason to know that the statements

they made or furnished (and the statements they caused others to make or furnish)

regarding the allowance of the deductions from the conservation easement

syndicates or the securing of other tax benefits by reason of purchasing interests in

the conservation easement syndicates were false or fraudulent as to a material

matter. This includes statements made or furnished by Defendants and others about



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the partnership structure being “proper,” and a customer’s entitlement to federal

tax deductions by purchasing an interest in a conservation easement syndicate.

Defendants Knew or Had Reason to Know that the Conservation Easement
Donations Were Not “Qualified Conservation Contributions”

      139. Before a taxpayer qualifies for a noncash charitable contribution

deduction arising from a “qualified conservation contribution” or conservation

easement, several criteria must be met. In particular,

             a. the contribution must be of a “qualified real property interest”; if
                the real property interest is a restriction on the use of the property,
                as is the case with the conservation easements at issue in this
                Complaint, that restriction must be granted in perpetuity;

             b. the contribution must be made exclusively for conservation
                purposes, and the easement must incorporate legally enforceable
                restrictions on the property at issue that will prevent uses of the
                retained interest in the property that are inconsistent with the
                “conservation purpose” of the contribution, and must run in
                perpetuity;

             c. where a donor of a conservation easement retains rights to the
                property subject to the easement which could impair the
                conservation interests, the donor is required to document the
                condition of the property at the time of the gift, commonly referred
                to as the “baseline documentation” that presents an accurate
                representation of the protected property at the time of the transfer;
                and

             d. the conservation easement’s value must be determined by a
                “qualified appraiser,” and the appraisal must be a “qualified
                appraisal” prepared in accordance with generally accepted
                appraisal standards.


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      140. Defendants knew or had reason to know that the conservation

easements granted by the conservation easement syndicates did not qualify as

“qualified conservation contributions.” For instance, Defendants knew or had

reason to know:

             a. the syndicates did not donate a “qualified real property interest”
                because the property subject to the conservation easement could be
                modified;

             b. the syndicates retained or reserved rights to the property that were
                inconsistent with the conservation purpose(s) of the conservation
                easement;

             c. the syndicates did not properly document the condition of the
                property at the time of the donation; and/or

             d. the appraiser was not a “qualified appraiser” and did not prepare a
                “qualified appraisal” as required by the Internal Revenue Code and
                regulations thereunder.

      141. Defendants made or furnished statements (or caused others to make or

furnish statements) regarding the allowance of the “qualified conservation

contribution” or securing of other tax benefits from the “qualified conservation

contribution” that they knew or had reason to know were false or fraudulent.

Defendants Made or Furnished or Caused Others to Make or Furnish Gross
Valuation Overstatements

      142. When valuing a conservation easement for purposes of claiming a

federal tax deduction, an appraiser must determine the easement’s “fair market

value” as of the date of the contribution. “Fair market value” is defined as “the

                                          52
price at which the property would change hands between a willing buyer and a

willing seller, neither being under any compulsion to buy or sell and both having

reasonable knowledge of relevant facts.”

      143. The Treasury Regulations set forth additional guidance for

determining the fair market value of a perpetual conservation restriction on a given

property as of the date of the contribution:

      If there is a substantial record of sales of easements comparable to the
      donated easement (such as purchases pursuant to a governmental
      program), the fair market value of the donated easement is based on
      the sales price of such comparable easements. If no substantial record
      of market-place sales is available to use as a meaningful or valid
      comparison, as a general rule (but not necessarily in all cases) the fair
      market value of a perpetual conservation restriction is equal to the
      difference between the fair market value of the property it encumbers
      before the granting of the restriction and the fair market value of the
      encumbered property after the granting of the restriction.

26 C.F.R. § 1.170A-14(h)(3)(i) (emphasis added).

      144. The applicable regulations further provide that the analysis of a

property’s fair market value before and after the contribution of a conservation

easement must be based on the property’s “highest and best use.” A property’s

“highest and best use” is the reasonable and probable use that supports the highest

present value of the property. Appraisers generally determine “highest and best

use” by considering uses for the property that are: (1) physically possible; (2)

legally permissible; and (3) financially feasible. Then, the appraiser must
                                          53
determine which of those uses is the maximally productive use of the property, or

creates the highest value of the property. This use is then the “highest and best use”

of the property.

      145. The analysis of a property’s fair market value before and after the

contribution of a conservation easement must also take into account “how

immediate or remote the likelihood is that the property, absent the restriction,

would in fact be developed, as well as any effect from zoning, conservation, or

historic preservation laws that already restrict the property’s potential highest and

best use.” 26 C.F.R. § 1.170A-14(h)(3)(ii). Indeed, there may be instances where

the grant of a conservation easement may have no material effect on the value of

the property or may in fact serve to enhance, rather than reduce, the value of the

property; in such instances, no deduction would be allowable. Id. The highest and

best use analysis in an appraisal is critical in determining fair market value.

      146. Defendant Clark holds himself out as professional appraiser of

conservation easements, and claims that he meets the definition of a “qualified

appraiser” as defined in 26 U.S.C. §§ 170(f)(11).

      147. Clark appraised at least 187 conservation easements between 2009

and 2016 in the following amounts: 61 conservation easements between 2009 and

2014, 59 conservation easements during 2015, and 67 conservation easements

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during 2016. This total includes at least 58 conservation easement syndicates, as

described herein.

      148. Nearly all of the conservation easement appraisals referenced in

paragraph 147, completed by Clark, have been submitted to the IRS to support a

claimed charitable contribution deduction arising from the conservation easement.

Defendant Clark claims that the appraisal reports he generates meet the definition

of a “qualified appraisal” in the Internal Revenue Code and regulations thereunder.

      149. Clark earned substantial fees for his appraisals.

      150. Continually and repeatedly, Defendant Clark relied upon

inappropriate assumptions, utilized inappropriate methodology and used various

techniques to improperly inflate the value of the conservation easements. This

inflated value results in Defendants’ customers claiming inflated and improper

deductions from their participation in the conservation easement syndication

scheme. For example:

            a. Defendant Clark incorrectly reached unsupportable or
               predetermined highest and best use conclusions – usually
               concluding that the highest and best use is a residential subdivision
               that must be valued using a discounted cash flow analysis;

            b. Defendant Clark arrived at the unsupportable highest and best uses
               by ignoring local zoning rules and other legal restrictions on
               purported developments, physical feasibility, market conditions,
               and market data;


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             c. Defendant Clark ignored the sale of conservation easements in the
                area of the property in determining the value of the conservation
                easement and ignored the proceeds garnered by the LLC by its sale
                of membership interests to customers;

             d. Defendant Clark failed to employ recent, local, or similar sales that
                competed with the subject property or would have been considered
                “substitutes” for the subject property by potential buyers when
                employing the “comparable sales method;”

             e. Defendant Clark improperly used the income approach and/or the
                subdivision analysis in his appraisals;

             f. Defendant Clark ignored relevant data about recent sales,
                contributions, or agreements concerning the real property that
                included relevant data for the value of the real property.

      151. By using these improper methods in appraising conservation

easements, Defendant Clark generated grossly overvalued appraisals, which in turn

resulted in taxpayers grossly overstating their tax deductions.

      152. Continually and repeatedly, Clark overstated the fair market value of

the conservation easements by hundreds of thousands, if not millions, of dollars.

      153. Clark claims that his appraisals follow the Uniform Standards of

Professional Appraisal Practice (“USPAP”), but because of his flawed

methodology, inappropriate data and supportable assumptions, including those

errors outlined above, Clark’s appraisals do not comply with USPAP. Clark’s

appraisals are therefore unreliable and fail to comply with the Internal Revenue




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Code and regulations thereunder for valuing conservation easements and preparing

qualified appraisals.

      154. In light of Clark’s professional experience and education, he knew or

should have known that the manner in which he valued the conservation easements

was contrary to the internal revenue laws and regulations, violated the professional

standards for real estate appraisers, and resulted in gross valuation overstatements

for the easements he appraised.

      155. Defendant Clark not only prepared appraisal reports for use by the

conservation easement syndicates in marketing and selling their units, but also

knew or had reason to know that his appraisal reports would be attached to the tax

returns as required by the Code to support the charitable contribution deductions

reported by the syndicates and ultimately claimed by Defendants’ customers.

      156. Defendant Clark also completed the required Forms 8283 for the

conservation easement syndicates who engaged him to provide appraisal services,

reporting the gross valuation overstatements as to the valuation of the conservation

easements to the IRS. In doing so, Clark also caused others, including the

conservation easement syndicates and the sponsors of those syndicates, to furnish

those gross valuation overstatements to the individual customers who used the




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Forms 8283 to support the charitable contribution deductions they claimed on their

returns.

      157. Defendant Zak made or furnished statements (or caused others to

make or furnish statements) as to the valuation of the conservation easements as

she “guid[ed] appraisal methodology and execution” and “assist[ed] in highest &

best use market determination” for the conservation easement syndicates.

      158.   Defendant Zak also assisted in the preparation of IRS tax forms,

including the Form 8283 and reviewed the valuation statements made on the Forms

8283 and appraisals that were then furnished to individual customers.

      159. Defendant EcoVest also assisted in the preparation of the Forms 8283

as part of the consulting and management services they provide to their specific

conservation easement syndicates. Defendant EcoVest generally received copies of

the draft appraisals and was permitted to provide input to the appraisers on the

methodology and conclusions the appraisers reached.

      160. Defendants made or furnished (or caused others to make or furnish)

gross valuation overstatements regarding the value of the conservation easements

and associated tax deductions to the thousands of customers (and prospective

customers) in the conservation easement syndicates.




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      161. Defendants also knew or had reason to know that Clark’s valuations

were grossly overvalued and/or false or fraudulent because:

             a. Defendants knew or had reason to know that the manner in which
                Clark valued the conservation easements was contrary to internal
                revenue laws and regulations, violated the professional standards
                for real estate appraisers, and resulted in improper and grossly
                overvalued conservation easement appraisals.

             b. Defendants knew or had reason to know that a conservation
                easement’s fair market value derives from appropriate, timely data
                from the market and not conjecture or unsupported conclusions
                and assumptions that favor extraordinarily high property values.

             c. Defendants knew or had reason to know about prior sales attempts
                or agreements regarding the real property that was evidence of
                value and did not support the grossly overvalued appraisals
                completed by Clark.

      162. Defendants also knew or had reason to know that the ultimate

customers would use the inflated values provided by Clark to claim overvalued

charitable contribution deductions on their federal income tax returns. Defendants

knew or had reason to know that these deductions would reduce the federal income

tax liabilities of the customers.

      163. Defendant Clark knew or should have known that overstated

appraisals could subject him to penalty under section 6701(a) and section 6695A.




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Defendants’ Conservation Easement Syndication Scheme Causes Irreparable
                Harm to the United States and the Public

      164. The harm caused by this conservation easement syndication scheme is

widespread. The United States, Defendants’ customers, and the taxpaying public

are all adversely affected.

      165. The United States Treasury has suffered losses through tax refunds

wrongfully issued and taxes uncollected. As part of their scheme, Defendants have

organized, promoted, or sold (or assisted in the organization, promotion, and sale

of) at least 96 conservation easement syndicates leading to over $2 billion of

charitable contribution deductions reported. But the total amount of wrongful

federal tax benefits claimed as a result of Defendants’ abusive conservation

easement syndication scheme is yet to be fully determined.

      166. The IRS has expended considerable time and resources to address

Defendants’ conservation easement syndication scheme. IRS employees, including

revenue agents, engineers and appraisers, have spent a substantial number of hours

examining the conservation easement syndicates and the conservation easement

appraisals.

      167. The IRS is harmed because it must dedicate scarce resources to

detecting and examining inaccurate returns filed by the conservation easement

syndicates as well as assessing and collecting unpaid tax. Defendants’ scheme is
                                         60
highly structured and involves the use of tiered pass-through entities which can

conceal the true economic nature of the transaction. Defendants continue to

implement variations or permutations to their scheme, resulting in a larger chance

of avoiding IRS scrutiny and IRS audit.

      168. Defendants’ customers have also incurred direct financial harm

because they remain liable for any unpaid federal tax they owe. They will also be

liable for interest that has accrued on their unpaid federal tax obligations.

Defendants’ customers may also be liable for substantial federal tax penalties as a

result of participating in Defendants’ conservation easement syndication scheme.

      169. Defendants’ abusive conservation easement syndication scheme

undermines public confidence in the fair administration of the federal tax system

and encourages noncompliance with the internal revenue laws, which causes

irreparable harm to the United States. Specifically, Defendants’ abusive

conservation easement syndication scheme inspires contempt for the system of

honest, voluntary income tax reporting and undermines the public’s confidence in

a deduction designed to encourage preservation and conservation efforts that is

instead being abused to financially benefit Defendants and their customers at the

expense of the U.S. Treasury.




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      170. Defendants have been unjustly enriched by operating their

conservation easement syndication scheme because the scheme relies upon the

abuse of federal tax laws.

 Defendants’ Continued Organizing, Promoting, and Selling of Conservation
                    Easement Syndicates to Customers
      171. Despite IRS scrutiny into conservation easement syndicates, including

the issuance of IRS Notice 2017-10, 2017-4 I.R.B. 544 on December 23, 2016

identifying conservation easement syndications as a “listed transaction,”

Defendants Zak, EcoVest, Solon, McCullough, and Teal continue to organize,

promote, and sell (or assist in the organization, promotion, and sale of)

conservation easement syndicates and their corresponding tax benefits. Defendant

Clark also continues to appraise conservation easements for syndicates in the same

manner as before the listing notice despite the IRS’s scrutiny and identification of

gross overvaluation as an issue with conservation easement syndicates.

      172. A “listed transaction” is a reportable transaction that is the same as, or

substantially similar to, a transaction specifically identified by the Secretary of the

Treasury as a tax avoidance transaction. Once the transaction becomes “listed,”

certain reporting and disclosure requirements arise. The December 23, 2016 Notice

created reporting obligations for participants in conservation easement



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syndications as well as material advisors, including appraisers, of conservation

easement syndications, for transaction entered into, on, or after January 1, 2010.

       173. In response to the listing notice, Defendants Zak, Clark, and EcoVest

filed Forms 8918, Material Advisor Disclosure Statements, reporting their roles

with certain conservation easement syndicates which are the subject of this

Complaint.

       174. Collectively, Defendants continued to organize, promote, and sell (or

assist in the organization, promotion, and sale of) at least 27 conservation easement

syndicates that reported sale activity between November 2016 and January 2018.

                                     COUNT I:

   Injunction against All Defendants under 26 U.S.C. § 7408 for Engaging in
              Conduct Subject to Penalty under 26 U.S.C. § 6700

       175. The United States incorporates by reference the allegations contained

in paragraphs 1 through 6 and 8 through 174.

       176. Section 7408(a) authorizes a district court to enjoin any person from

engaging in conduct subject to penalty under 26 U.S.C. § 6700 if injunctive relief

is appropriate to prevent recurrence of that conduct or any other activity subject to

penalty under the Internal Revenue Code.

       177. Section 6700 imposes a civil penalty on any person who: (1) either

organizes or assists in the organization of a plan or arrangement or participates in
                                          63
the sale of any interest in a plan or arrangement; and (2) makes or furnishes, or

causes another to make or furnish, certain statements.

      178. One such statement subject to penalty is a statement with respect to

the securing of a tax benefit by reason of holding an interest in an entity or

participating in a plan or arrangement that the person has reason to know is false or

fraudulent as to any material matter. 26 U.S.C. § 6700(a)(2)(A).

      179. Another such statement subject to penalty is a “gross valuation

overstatement as to any material matter.” 26 U.S.C. § 6700(a)(2)(B). A gross

valuation overstatement is “any statement as to the value of any property or

services” if the value of the property or services is directly related to the amount of

any tax deduction or credit and the stated value is more than 200 percent of the

correct value of the property or services. 26 U.S.C. § 6700(b)(1).

      180. Defendants’ conservation easement syndication scheme is a plan or

arrangement within the meaning of 26 U.S.C. § 6700.

      181. Defendants have organized, promoted, or sold (or assisted in the

organization, promotion, and sale of), the conservation easement syndication

scheme to thousands of customers.

      182. In connection with the conservation easement syndication scheme,

Defendants made and furnished false and/or fraudulent statements regarding the

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securing of a tax benefit by reason of participating in the conservation easement

syndication scheme and the amount of that tax benefit in the form of a

conservation easement deduction.

      183. Defendants knew and had reason to know that these statements were

false or fraudulent within the meaning of 26 U.S.C. § 6700(a)(2)(A).

      184. In connection with the conservation easement syndication scheme,

Defendants made or furnished or caused another person to make or furnish gross

valuation overstatements within the meaning of 26 U.S.C. § 6700(a)(2)(B).

      185. If Defendants are not enjoined, they are likely to continue to promote

this conservation easement syndication scheme.

      186. The United States will suffer irreparable injury if Defendants are not

enjoined.

      187. Enjoining Defendants is in the public interest because an injunction,

backed by the Court’s contempt powers if needed, will stop Defendants’ illegal

conduct and the harm it causes the United States.

      188. Defendants have engaged in conduct – including but not limited to the

conduct described in this complaint – that is subject to penalty under 26 U.S.C.

§ 6700, and an injunction under 26 U.S.C. § 7408 is appropriate to prevent

recurrence of such conduct.

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                                      COUNT II:

   Injunction against Defendants Zak and Clark under 26 U.S.C. § 7402 for
       Engaging in Conduct Subject to Penalty under 26 U.S.C. § 6695A

      189. The United States incorporates by reference the allegations contained

in paragraphs 1 through 6, 8 through 25, 41 through 42, 54 through 121, 129, 132,

and 141 through 174.

      190. Section 7402(a) authorizes a district court to issue injunctions and to

render judgments that may be necessary or appropriate for the enforcement of the

internal revenue laws even when the United States may have other remedies

available for enforcing those laws.

      191. Section 6695A(a) imposes a civil penalty on any person who

appraises property and knows (or reasonably should have known) that the appraisal

would be used in connection with a federal tax return or a claim for refund, and the

claimed value of the property results in a substantial valuation misstatement or a

gross valuation misstatement. A substantial valuation misstatement results when

the value of any property claimed is 150% or more of the property’s correct

valuation (26 U.S.C. § 6662(e)), and a gross valuation misstatement results when

the value of any property claimed is 200% or more of the property’s correct

valuation (26 U.S.C. § 6662(h)).



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      192. Section 6695A penalizes conduct that interferes with the enforcement

of the internal revenue laws.

      193. As alleged herein, Defendant Zak assisted in appraising the

conservation easements. Among other things, Zak assisted in making the highest

and best use determinations, a critical component in determining fair market value

of a conservation easement.

      194. Defendants Zak and Clark knew or reasonably should have known

that the appraisals they prepared would be used in connection with a federal tax

return or a claim for refund.

      195. The appraisals that Defendants Zak and Clark prepared provided the

basis for the value of the charitable contribution deductions claimed on each

conservation easement syndicates’ Forms 1065 that passed-through to individual

customers’ tax returns or claims for refund.

      196. Defendants Zak and Clark have consistently overvalued property by at

least 150%.

      197. Defendants Zak and Clark have consistently engaged in conduct –

including overvaluing appraised property by at least 150% -- that is subject to

penalty under 26 U.S.C. § 6695A, and an injunction under 26 U.S.C. § 7402 is

appropriate to prevent recurrence of such conduct.

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      198. The United States will suffer irreparable injury if Defendants are not

enjoined.

      199. Enjoining Defendants is in the public interest because an injunction,

backed by the Court’s contempt powers if needed, will stop Defendants’ illegal

conduct and the harm it causes the United States.

      200. Enjoining Defendants is also necessary as the United States otherwise

lacks an adequate remedy at law.

                                    COUNT III:

 Injunction against Defendant Clark under 26 U.S.C. § 7407 for Engaging in
             Conduct Subject to Penalty under 26 U.S.C. § 6694

      201. The United States incorporates by reference the allegations contained

in paragraphs 1 through 6, 19 through 25, 54 through 62, 65, 68, 77 through 112,

114 through 115, 132, and 141 through 174.

      202. Section 7407 authorizes a district court to enjoin any person from

engaging in conduct subject to penalty under 26 U.S.C. § 6694 if injunctive relief

is appropriate to prevent recurrence of that conduct or any other activity subject to

penalty under the Internal Revenue Code.

      203. Section 6694 imposes penalties on tax return preparers for

understatements of tax liability due to unreasonable positions, as well as

understatement of tax liability due to willful or reckless conduct.
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      204. A “tax return preparer” as used in Section 6694 is defined as any

person who prepares for compensation, any return of tax or any claim for refund of

tax including the preparation of a substantial portion of a return or claim for

refund. 26 U.S.C. § 7701(a)(36) (emphasis added).

      205. A tax return preparer includes the individual who signed the tax return

or a return preparer who did not sign the tax return but who prepared all or a

substantial portion of a return or claim for refund regarding events occurring at the

time the advice is rendered. 26 C.F.R. §§ 1.6694-1; 301.7701-15.

      206. As alleged herein, Defendant Clark is a tax return preparer because he

prepares tax returns or portions of tax returns for compensation and/or provides

advice for positions or entries taken on federal tax returns.

      207. Defendant Clark prepared portions of the conservation easement

syndicates’ tax returns, including the Forms 8283 (appraisal summary) and

appraisal required to be attached to a tax return to support the claimed charitable

contribution deduction. Defendant Clark received compensation for the preparation

of the appraisal(s) and the IRS forms.

      208. Defendant Clark has consistently engaged in conduct – including

understating the federal tax liabilities on tax returns or claims for refund (or

portions of tax returns or claims for refund) that he has prepared – that is subject to

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penalty under 26 U.S.C. § 6694, and an injunction under 26 U.S.C. § 7407 is

appropriate to prevent recurrence of such conduct.

      209. The United States will suffer irreparable injury if Defendant Clark is

not enjoined.

      210. Enjoining Defendant Clark is in the public interest because an

injunction, backed by the Court’s contempt powers if needed, will stop Defendant

Clark’s illegal conduct and the harm it causes the United States.

                                      COUNT IV:

    Injunction against All Defendants under 26 U.S.C. § 7402 for Unlawful
    Interference with the Administration and Enforcement of the Internal
                                Revenue Laws

      211. The United States incorporates by reference the allegations contained

in paragraphs 1 through 174.

      212. Section 7402(a) authorizes a district court to issue injunctions and to

render judgments that may be necessary or appropriate for the enforcement of the

internal revenue laws even when the United States may have other remedies

available for enforcing those laws.

      213. Section 7402 manifests the congressional intention to provide the

district courts with a full arsenal of powers to compel compliance with the internal

revenue laws. The statute has been used to enjoin interference with tax

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enforcement even when such interference does not violate any particular tax

statute.

       214. Defendants, through the actions described above, have engaged in

conduct that interferes substantially with the administration and enforcement of the

internal revenue laws. Defendants have promoted an abusive tax scheme and aided

and abetted understatements of tax liabilities. Defendants, through their conduct,

have caused their customers to claim over 1.8 billion dollars of overvalued and

improper charitable contribution deductions, resulting in hundreds of millions of

dollars of tax harm.

       215. Defendants continue to promote the conservation easement

syndication scheme, and participation in their conservation easement syndication

scheme appears to be growing over the last five to seven years.

       216. Customers continue to claim bogus deductions as a result of the

conservation easement syndication scheme.

       217. Defendants’ conservation easement syndication scheme has caused

irreparable harm to the United States.

       218. Defendants’ conduct has caused and is causing substantial revenue

loss to the United States Treasury, some of which may be unrecoverable.




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      219. IRS scrutiny of the conservation easement syndication scheme,

including issuing a Notice identifying the conservation easement syndication

scheme as a “listed transaction,” has not deterred Defendants from promoting this

abusive tax scheme, aiding and abetting understatements of tax liabilities, and

otherwise interfering with the enforcement of the internal revenue laws.

      220. If Defendants are not enjoined, they will likely continue to engage in

conduct subject to penalty under 26 U.S.C. §§ 6700, 6701, 6695A, and 6694, and

conduct that interferes with the enforcement of the internal revenue laws.

      221. Enjoining Defendants is in the public interest because an injunction,

backed by the Court’s contempt powers if needed, will stop Defendants’ illegal

conduct and the harm it causes the United States.

      222. Enjoining Defendants is also necessary as the United States otherwise

lacks an adequate remedy at law.

                                    COUNT V:

       Disgorgement under 26 U.S.C. § 7402 against all Defendants as
       Necessary or Appropriate to Enforce the Internal Revenue Laws

      223. The United States incorporates by reference the allegations contained

in paragraphs 1 through 174.




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      224. Section 7402 of the Internal Revenue Code authorizes a district court

to issue orders, judgments, and decrees as may be necessary or appropriate for the

enforcement of the internal revenue laws.

      225. Defendants have unjustly profited at the expense of the United States

by charging customers fees for participating in the conservation easement scheme

which Defendants knew hinged upon the improper and overvalued tax deductions

that their customers claimed.

      226. Defendants are not entitled to these ill-gotten gains. But for the

Defendants’ conduct, customers would not have received the overvalued and

improper tax benefits (and corresponding refunds).

      227. The Court should enter an order under 26 U.S.C. § 7402(a) requiring

Defendants to disgorge to the United States the gross receipts that Defendants

received for their participation in the conservation easement syndication scheme.

                                RELIEF SOUGHT

      WHEREFORE, Plaintiff, the United States of America, prays for the

following relief against Defendants:

        a.   That with respect to Count I this Court find that Defendants have

             engaged in conduct subject to penalty under 26 U.S.C. § 6700 and that




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     injunctive relief under 26 U.S.C. § 7408 is appropriate to prevent

     recurrence of that conduct.

b.   That with respect to Count II this Court find that Defendants Zak and

     Clark have engaged in conduct subject to penalty under 26 U.S.C.

     § 6695A and that injunctive relief under 26 U.S.C. § 7402(a) is

     appropriate to prevent recurrence of that conduct.

c.   That with respect to Count III this Court find that Defendant Clark has

     engaged in conduct subject to penalty under 26 U.S.C. § 6694 and that

     injunctive relief under 26 U.S.C. § 7407 is appropriate to prevent

     recurrence of that conduct.

d.   That with respect to Count IV the Court find that Defendants have

     engaged in conduct interfering with the administration and

     enforcement of the internal revenue laws and that injunctive relief

     under 26 U.S.C. § 7402(a) is appropriate to prevent recurrence of that

     conduct.

e.   That this Court, with respect to Counts I through IV, and pursuant to

     26 U.S.C. §§ 7402, 7407, and 7408, enter permanent injunctions

     prohibiting Defendants from directly or indirectly:

     (i)   organizing, promoting, or selling (or assisting in the
           organization, promotion, or sale of) the “conservation easement
                                   74
        syndication scheme,” described herein, or any other plan or
        arrangement that encourages taxpayers to claim a deduction for
        a qualified conservation contribution under 26 U.S.C. § 170(h);

(ii)    participating (directly or indirectly) in the sale of any
        conservation easement syndicate, or any other plan or
        arrangement that encourages taxpayers to claim a deduction for
        a qualified conservation contribution;

(iii)   making or furnishing (or causing another to make or furnish) a
        statement about the allowance of any federal tax benefit as a
        result of participating in a conservation easement syndicate or
        any other plan or arrangement that encourages taxpayers to
        claim a qualified conservation contribution deduction;

(iv)    making or furnishing (or causing another to make or furnish) a
        gross valuation overstatement as to any material matter related
        to participating in a conservation easement syndicate or any
        other plan or arrangement that encourages taxpayers to claim a
        qualified conservation contribution deduction;

(v)     organizing, promoting, or selling (or assisting in the
        organization, promotion, or sale of) any other plan or
        arrangement that advises or assists taxpayers to attempt to
        violate the internal revenue laws or unlawfully evade the
        assessment or collection of their federal tax liabilities;

(vi)    in connection with organizing, promoting, or selling a plan or
        arrangement that advises or assists taxpayers to attempt to
        violate the internal revenue laws or unlawfully evade the
        assessment or collection of their federal tax liabilities, making
        or furnishing (or causing another to make or furnish) false
        statements, about the allowance of any federal tax benefit
        resulting from participating in the plan or arrangement;

(vii) in connection with organizing, promoting, or selling a plan or
      arrangement that advises or assists taxpayers to attempt to
      violate the internal revenue laws or unlawfully evade the
      assessment or collection of their federal tax liabilities, making

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            or furnishing (or causing another to make or furnish) a gross
            valuation overstatement as to any material matter related to
            participating in the plan or arrangement;

     (viii) preparing (or assisting in the preparation of) any federal tax
            return, or any document that may be filed in support of a tax
            return or other submission to the IRS claiming benefits
            resulting from a qualified conservation contribution under 26
            U.S.C. § 170(h), including, but not limited to, Forms 8283
            (appraisal summaries) and attachments or qualified appraisals;

     (ix)   preparing (or assisting in the preparation of) any federal tax
            return, or any document that may be filed in support of a tax
            return or other submission to the IRS that they know will result
            in the understatement of any tax liability or the overstatement
            of federal tax refunds;

     (x)    facilitating any donation that is intended to qualify as a
            “qualified conservation contribution” under 26 U.S.C. § 170(h);

     (xi)   advising or representing any individual before the IRS with
            respect to any donation that is intended to qualify as a
            “qualified conservation contribution” under 26 U.S.C. § 170(h);

     (xii) preparing (or assisting in the preparation of) any appraisal that
           is intended to be a “qualified appraisal” within the meaning of
           26 U.S.C. § 170(f)(11)(E);

     (xiii) engaging in any activity subject to penalty under 26 U.S.C.
            §§ 6694, 6695A, 6700, or 6701; and

     (xiv) engaging in conduct that substantially interferes with the proper
           administration and enforcement of the internal revenue laws.

f.   That this Court, under 26 U.S.C. § 7402(a), order Defendants to

     provide to counsel for the United States, no later than 30 days from

     the date judgment is entered, a list of

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       (i) all conservation easement syndicates that Defendants have
           organized, promoted, or sold (or assisted in the organization,
           promotion, and sale), along with each syndicate’s taxpayer
           identification number, mailing address, e-mail address (if any),
           telephone number, and the name and contact information of the
           manager or other person with authority to act on behalf of the
           syndicate; and

      (ii) all persons who, in or since calendar year 2009, have purchased
           any interest in a conservation easement syndicate, including
           each person’s mailing address, e-mail address, telephone
           number, and taxpayer identification number.

g.   That this Court, under 26 U.S.C. § 7402(a), order Defendants, no later

     than 30 days from the date judgment is entered, to contact by mail

     (and also by e-mail, if an address is known) all persons who

     purchased an interest in a conservation easement syndicate and

     provide them with

       (i) a copy of the Court’s judgment plus any findings of fact and
           conclusions of law in support of the judgment, and

       (ii) a copy of the permanent injunction.

     And the Court order that Defendants shall not provide any other

     document to such purchasers unless that document is first approved by

     the United States or by this Court.

h.   That this Court, under 26 U.S.C. § 7402(a), order Defendants, within

     14 days of entry of the judgment in this case, to prominently display a

     copy of the final judgment of permanent injunction in this case on the
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     front page and every subpage of all websites Defendants control or

     maintain, and any website on which Defendants advertise or market

     the conservation easement syndication scheme.

i.   That this Court, under 26 U.S.C. § 7402(a), order Defendants to

     provide, within 30 days of entry of the judgment in this case, a copy

     of the judgment in this case to all of their employees, independent

     contractors, agents, directors, and officers, and provide to counsel for

     the United States, within 30 days of the Court’s judgment a signed

     and dated acknowledgement of receipt for each person who was

     provided such copy.

j.   That this Court, under 26 U.S.C. § 7402(a), order Defendants to file

     with the Court, within 45 days of entry of the judgment in this case, a

     certification signed under penalty of perjury that they have complied

     with paragraphs g., h., and i., above.

k.   That this Court retain jurisdiction to allow the United States full post-

     judgment discovery to monitor Defendants’ compliance with the

     injunction.

l.   That this Court, pursuant to Rule 65(d)(2) of the Federal Rules of

     Civil Procedure, order that entry of the judgment in this case binds the

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            following who receive actual notice of it by personal service or

            otherwise:

                  (i) Defendants Nancy Zak, Claud Clark III, EcoVest Capital,
                      Inc., Alan N. Solon, Robert M. McCullough, and Ralph T.
                      Teal, Jr.;

                 (ii) The officers, agents, servants, employees, and attorneys of
                      each of the Defendants described in (i) above; and

                (iii) Other persons who are in active concert or participation with
                      anyone described in (i) or (ii) above.

       m. That with respect to Count V and under 26 U.S.C. § 7402(a), this

            Court enter an order requiring all Defendants to disgorge to the United

            States the gross receipts (the amount of which is to be determined by

            the Court) that Defendants received from any source as a result of the

            abusive conservation easement syndication scheme described herein,

            together with prejudgment interest thereon.

       n.   That this Court grant the United States such other and further relief as

            the Court deems just and proper, including awarding the United States

            its costs and expenses incurred in this suit.

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[signature on following page]


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Dated: December 18, 2018                  Respectfully submitted,

                                          RICHARD E. ZUCKERMAN
                                          Principal Deputy Assistant Attorney
                                          General

                                          /s Erin R. Hines
                                          ERIN R. HINES
                                          FL Bar No. 44175
                                          Email: Erin.R.Hines@usdoj.gov
                                          Telephone: (202) 514-6619
                                          Trial Attorney, Tax Division
                                          U.S. Department of Justice
                                          P.O. Box 7238
                                          Ben Franklin Station
                                          Washington, D.C. 20044
                                          Facsimile: (202) 514-6770

                                          Local Counsel:
                                          BYUNG J. PAK
                                          United States Attorney
                                          ___________
                                          NEELI BEN-DAVID
                                          ASSISTANT U.S. ATTORNEY
                                          Georgia Bar No. 049788
                                          Office of the United States Attorney
                                          Northern District of Georgia
                                          600 U.S. Courthouse
                                          75 Ted Turner Drive, SW, Suite 600
                                          Atlanta, Georgia 30303
                                          Telephone: (404) 581-6303
                                          Facsimile: (404) 581-4667
                                          Email: Neeli.ben-david@usdoj.gov


*I certify that this motion has been prepared with one of the font and point
selections approved by the court in LR 5.1C.
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